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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

FREDERICK KLORCZYK, JR., as co-administrator : CIVIL ACTION NO.
of the Estate of Christian R. Klorczyk, et al. :
                                               :
                               Plaintiffs,     : 3:13-cv-00257-JAM
                                               :
v.                                             :
                                               :
SEARS, ROEBUCK AND CO., et al.,                :
                                               :
                               Defendants.     : OCTOBER 11, 2018




   MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR
    SUMMARY JUDGMENT ON PLAINTIFFS’ PUNITIVE DAMAGES CLAIMS


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        Plaintiffs Frederick Klorczyk, Jr. and Lynne Klorczyk, as co-administrators of the Estate

of Christian Klorczyk (“Plaintiffs”), submit this memorandum of law in opposition to

Defendants’ motion for summary judgment on Plaintiffs’ punitive damages claim (ECF No.

298).

                              I.    PRELIMINARY STATEMENT

        Plaintiffs’ 21-year old son Christian was crushed to death on March 11, 2011 as he was

completing a routine oil change in the garage attached to his family’s home in Waterford,

Connecticut. Christian was alone when the 1,900-lb BMW that he was working under suddenly

and unexpectedly collapsed on his face and chest, crushing him to death. Plaintiffs were the first

to find Christian. Both Plaintiffs, and the first emergency responder, observed Defendants’ jack

stand under the front passenger-side of the BMW, where Christian would have placed it to keep

the BMW elevated, allowing him access to the underbody. The only reasonable explanation for

the jack stand to have been in that position is that Christian was using the jack stand when it

unexpectedly failed, causing the BMW to come crashing down on him.

        The potential causes of failure are limited by the jack stand’s physical condition and

location beneath the BMW.1 The most likely cause of failure is “false engagement,” a condition

that occurs due to a known defect in the jack stand’s ratchet-and-pawl design. False engagement

occurs when the tip of the locking pawl fails to engage completely the grooved indentations

along the tooth side of the ratchet bar. The jack stand is susceptible to failure when the locking

pawl fails to engage completely and rests on a tooth of the ratchet bar.



1
  Plaintiffs refer to their memorandum in opposition to Defendants’ motion for summary
judgment on Plaintiffs’ claims under the Connecticut Product Liability Act, Conn. Gen. Stat.
§§ 52-572m to 52-572q for a detailed discussion of false engagement and the evidence that
demonstrates Christian was crushed when Defendants’ jack stand failed due to false engagement.
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       By their motion for summary judgment, Defendants seek to have this Court rule, as a

matter of law, that Plaintiffs are prohibited from recovering punitive damages because they

contend that false engagement “never definitively occurred before” this incident. (Defs’ Mem. at

1.) But, evidence of a prior confirmed incident is not the standard for punitive damages. An

award of punitive damages is appropriate where, as here, the evidence supports a finding that the

defendant consciously disregarded a crush hazard likely to result in serious injury or death.

       It is not surprising that Defendants attempt to distort the standard for punitive damages.

At the outset of this case, Defendants took the position that they had never heard of false

engagement. That position is no longer tenable in light of documents produced in this case and

the testimony of Roger Claypool, a former employee of Defendant Shinn Fu America (“SFA”).

During his 20-year tenure at SFA, Mr. Claypool investigated claims of sudden, unexpected loss

of ratchet height on ratchet-and-pawl type jack stands and concluded that false engagement was a

problem requiring attention. Mr. Claypool went on to develop a proposal for a ratchet-and-pawl

design jack stand that incorporated a redundant locking mechanism to prevent collapse due to

false engagement. Defendants did not act on Mr. Claypool’s proposal—indeed, they told him

they were “not interested.” Nor did Defendants implement other safeguards such as warnings

and instructions specific to false engagement. In contrast to Defendants’ inaction, at least three

of Defendants’ industry peers and competitors successfully brought to market ratchet-and-pawl

type jack stands with additional safety features, warnings and instructions, all of which respond

to the dangers of false engagement.

       The evidence supports Plaintiffs’ claim for punitive damages. Defendants cannot avoid

the evidence showing their knowledge that their ratchet-and-pawl jack stand design was

susceptible to false engagement and that false engagement presented a crush hazard and risk of



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serious bodily injury and death. Nor can Defendants avoid the fact that they did nothing to

mitigate this risk before the tragic accident that killed Christian. The issue whether Defendants

recklessly disregarded a substantial risk to human safety is a factual determination that only a

jury can decide.

          II.      ADDITIONAL FACTS PRECLUDING SUMMARY JUDGMENT2

A.     Christian Was Crushed When Defendants’ Jack Stand Failed.

       Plaintiffs’ testimony, and that of first responder EMT Geoffrey Hausmann, is unwavering

as to the fact that Christian was using Defendants’ jack stand to support the BMW when it

collapsed. Upon entering the garage, Plaintiffs observed the BMW parked straight inside the

center bay. Christian’s lower legs and feet were protruding out from beneath the front bumper.

Mr. Klorczyk crawled underneath the BMW and found the subject Craftsman Model 50163 4-ton

jack stand inboard of the front passenger-side wheel well. (Pls’ Stmt. ¶¶ 5, 8, 11–15.) Mr.

Klorczyk then assembled the service jack located parallel to the BMW by inserting the lifting

handle in to the socket, wheeled the service jack under the passenger-side of the BMW, and

pumped the handle to lift the BMW off of Christian. With the BMW lifted, Mrs. Klorczyk could

see the subject jack stand in the same location described by her husband. (Id. ¶¶ 16–18.)

Mr. Hausmann arrived at the garage within minutes, crawled under the BMW, and observed the

jack stand in the same location described by Mr. Klorczyk—beneath the front passenger-side of

the BMW. (Id. ¶ 19.) The only reasonable explanation for the jack stand to be in that location is

that Christian was using the jack stand to support the BMW in an elevated position when the jack

stand suddenly and unexpectedly failed.



2
 Facts referenced herein are set forth with citations to supporting evidence in Plaintiffs’ Local
Rule 56(a)(2) Statement (“Pls’ Stmt.”) filed simultaneously herewith.


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B.     Defendants’ Jack Stand Failed Due To False Engagement.

       Frederick Heath, an expert with 40-plus years’ experience in vehicle support equipment,

utilized an exemplar model jack stand and an exemplar model BMW to test false engagement

under circumstances extant in the Klorczyks’ garage.3 Mr. Heath’s testing demonstrates that:

(i) false engagement occurs when the jack stand is under load; (ii) the jack stand is capable of

supporting weight comparable to that of the BMW when the locking pawl and ratchet bar are

aligned in false engagement; and (iii) a disturbance to the jack stand or the vehicle causes the

ratchet bar (and, with it, the vehicle) to collapse. (Id. ¶¶ 20–21.) These results are consistent

with the evidence concerning the subject jack stand’s condition and location. Additionally, when

Plaintiffs first found Christian, they observed his right hand holding a socket wrench that was

connected to the oil drain plug, such that he was tightening the plug when the collapse occurred.

(Id. ¶ 13.) Simulating the vehicle’s movement relative to the forces applied when tightening the

oil drain plug, Mr. Heath found the resulting disturbance sufficient to cause the falsely engaged

ratchet bar to collapse, along with the BMW. (Id. ¶ 21.) The evidence, coupled with his

extensive testing, fully supports Mr. Heath’s expert opinion that the subject jack stand failed as a

result of false engagement.4




3
 Plaintiffs refer to their memorandum in opposition to Defendants’ motion to preclude Mr.
Heath’s testimony for a detailed discussion of his qualifications and work in this case.
4
  Defendants have done nothing, beyond offering their alternative service jack theory, to refute
the occurrence of false engagement as the cause of Christian’s death. Plaintiffs refer to their
memorandum in opposition to Defendants’ motion for summary judgment on Plaintiffs’ claims
under the Connecticut Product Liability Act, Conn. Gen. Stat. §§ 52-572m to 52-572q for a
detailed discussion of the evidence demonstrating that Christian could not have been using the
service jack as Defendants assert.


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C.     Defendants Knew Their Ratchet-And-Pawl Jack Stand Design Was Susceptible to
       False Engagement And That False Engagement Posed A Crush Hazard That Could
       Result In Serious Injury Or Death.

       Defendants were aware prior to March 11, 2011, that their ratchet-and-pawl jack stand

design was susceptible to false engagement and that false engagement posed a crush hazard that

could result in serious injury or death.      Mr. Claypool, a former employee of SFA who

investigated consumer complaints regarding Defendants’ jack stand products, testified that he

encountered claims of sudden and unexpected loss of ratchet height, i.e. false engagement,

during the course of his employment. (Id. ¶¶ 24–25.)

       Mr. Claypool testified that he was convinced that false engagement was possible, and

was not a phantom condition, in the course of investigating a claim made by Steven Bowles, in

or about 2004. (Id. ¶ 25.) Mr. Bowles alleged that a previously loaded ratchet bar on one of

Defendants’ jack stands unexpectedly dropped, causing the load to drop and pinning him

underneath the vehicle he was working on until first responders arrived. Mr. Bowles alleged

physical injury and sought damages for pain and suffering, medical bills and lost wages. Mr.

Claypool recommended that Defendants settle the Bowles claim because, inter alia, “I just don’t

have a lot of confidence that a jury wouldn’t take notice and not think badly (i.e. $$$) of us.” In

the course of investigating the Bowles claim, Mr. Claypool took it upon himself to conduct

informal testing. He testified during his deposition that he was able to create a false engagement

and that, on more than one occasion, the ratchet “simply collapse[d].” (Id. ¶ 25; see also Pls’

Ex. T.) Mr. Claypool also submitted to Defendants a proposal for an alternative ratchet-and-

pawl design jack stand that incorporated a secondary locking mechanism. Defendants did not act

on Mr. Claypool’s alternative design proposal. (Id. ¶ 28; see also Pls’ Ex. U.)




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       The Bowles claim was not an isolated incident.              In 2006, Jennifer Raymond,

administrator of the estate of Christopher Raymond, filed a lawsuit after her husband,

Christopher Raymond, was crushed to death following the failure of Defendants’ 3.5-ton ratchet-

and-pawl jack stands. Mr. Claypool investigated the Raymond claim and testified that the claim

involved allegations of sudden, unexpected loss of ratchet height. (Id. ¶ 26; see also Pls’ Ex. D.)

Mr. Claypool also testified that a claim by an individual with the last name Hadstedt involved

allegations of sudden, unexpected loss of ratchet height. (Id. ¶ 26.) In addition to failing to act

on Mr. Claypool’s design proposals, Defendants took no action to reduce the hazards of false

engagement in response to the Raymond and Hadstedt claims.

       Mr. Claypool was not the only employee with knowledge that the ratchet-and-pawl

design was susceptible to false engagement and posed a crush hazard that could result in serious

injury or death. Upper management, including Steven Huang, the present of SFA, were made

aware of all claims, including the Bowles, Raymond, and Hadstedt claims, and that false

engagement could occur and result in serious physical injury. In fact, Defendants admit their

knowledge of false engagement prior to March 11, 2011. (Id. ¶ 27.)

       In addition to admitting their knowledge of false engagement, Defendants also do not

contest the feasibility or affordability of Mr. Claypool’s alternative design proposal. Indeed,

Defendants admit the feasibility of a ratchet-and-pawl design jack stand that incorporates a

redundant locking mechanism, and that the cost to add a redundant locking mechanism is

insignificant.5 Instead, Defendants that Mr. Claypool did not build a prototype.6 (Defs’ Mem. at



5
  Defendants allegedly commissioned a trial “product development” project to design a ratchet-
and-pawl jack stand that “would be locked in more than one location” but ultimately terminated
the project. Defendants claim they are not aware of any documents concerning the project or the
reasons for its termination. (Id. ¶ 28.)


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7.) Defendants cannot camouflage their own action in the face of known risk by pointing the

finger at Mr. Claypool, especially when Defendants told Mr. Claypool that they were “not

interested” in his design. (Id. ¶ 28.)

       In contrast to Defendants’ failure to act, at least three of Defendants’ competitors, Allied,

Strongway, and Torin, developed and brought to market ratchet-and-pawl jack stand products

with either a redundant or secondary locking mechanism prior to March 11, 2011. (Id. ¶ 29.)

Defendants admit knowledge that their competitors implement redundant locking mechanisms.

Indeed, Defendants similarly implemented redundant locking mechanisms in their comparable

jack stand models after this accident. (Id.)

       The foregoing facts, set forth in Plaintiffs’ accompanying Local Rule Statement,

demonstrate the disputed issues precluding the entry of summary judgment on Plaintiffs’

punitive damages claim. Only a jury can properly weigh the evidence and determine whether

Defendants’ conduct warrants punitive damages.

                                         III.   ARGUMENT

A.     Defendants Cannot Meet The High Standard For Granting Summary Judgment.

       A party moving for summary judgment bears a heavy burden. See D. Conn. L. Civ. R.

56(c). Summary judgment shall not be granted to a moving party unless there are no genuine

issues of material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P.

56; Wolinsky v. Standard Oil of Conn., Inc., 712 F. Supp. 2d 46, 51 (D. Conn. 2010). The

moving party bears the burden of affirmatively demonstrating the absence of a triable issue of



6
  Whether Mr. Claypool built a prototype has no relevance to the issue in this motion. The only
issue in this motion is whether there is sufficient evidence to support a finding that Defendants
acted with reckless indifference to human life in the face of knowledge that their ratchet-and-
pawl jack stand design was susceptible to false engagement and that false engagement presented
a crush hazard that could result in serious injury or death.

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material fact and entitlement to judgment as a matter of law. Rodriguez v. City of N.Y., 72 F.3d

1051, 1060–61 (2d Cir. 1995). Even if the moving party satisfies its burden, the non-moving

party may still “come forward with enough evidence to support a jury verdict in its favor” to

defeat the motion. Bryan v. Maffucci, 923 F.2d 979, 982 (2d Cir. 1991). “Because credibility is

not an issue on summary judgment, the nonmovant’s evidence must be accepted as true for

purposes of the motion.” Reiske v. Black & Decker (U.S.) Inc., No. 3:09-cv-1086, 2012 WL

685485, at *2 (D. Conn. Mar. 2, 2012). If reasonable minds could differ as to the import of the

evidence, and if there is any evidence in the record from any source from which a reasonable

inference in the non-moving party’s favor may be drawn, the moving party is not entitled to

summary judgment. Brady v. Town of Colchester, 863 F.2d 205, 211 (2d Cir. 1988).

B.     Punitive Damages Are Available Where A Defendant Has Knowledge Of A Serious
       Risk And Fails To Implement Alternative Product Designs And Warnings.

       Punitive damages are available to a plaintiff in a product liability suit, in an amount up to

twice the amount of compensatory damages, if “the harm suffered was the result of the product

seller’s reckless disregard for the safety of product users, consumers or others who were injured

by the product.” Conn. Gen. Stat. § 52-240b. An actual intention to harm the plaintiff is not

necessary. Berry v. Loiseau, 223 Conn. 786, 811 (1992).

       Defendants acknowledge that the “reckless disregard” standard may be satisfied by

evidence that Defendants made a “conscious choice” of a course of action with knowledge, or

constructive knowledge, of a serious risk. (Defs’ Mem. at 14 (citing Matthiessen v. Vanech, 266

Conn. 822, 832 (2003)); Matthiessen, 266 Conn. at 832 (holding that jury instruction that

reckless disregard requires “a conscious choice of a course of action involving serious dangers to

others, either with knowledge of that serious danger, or with knowledge of facts which a

reasonable person would recognize as being a serious danger to others” was correct statement of


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the law on punitive damages in a negligence action); K.E. v. GlaxoSmithKline LLC, No. 3:14-cv-

1294, 2017 WL 440242, at *25–6 (D. Conn. Feb. 1, 2017) (dismissing punitive damages claim

where there was no evidence defendant “knew of the risks associated with Paxil” or “withheld

information about the risks”), appeal withdrawn, No. 17-618, 2017 WL 3911570 (2d Cir. June

14, 2017).

        For example, in Lutes v. Kawasaki Motors Corp. U.S.A., the Court rejected the

defendants’ argument that there was no “evidence that Kawasaki knew of or consciously chose

to ignore any manifest danger related to the cargo hooks,” and denied the defendants’ summary

judgment motion, where the plaintiffs presented evidence that the defendants sold a number of

replacement cargo hooks. Lutes v. Kawasaki Motors Corp. U.S.A., No. 3:10-cv-01549, 2015 WL

9239736, at *5 (D. Conn. Dec. 17, 2015). The Court concluded the sales of replacement cargo

hooks created a genuine issue whether the defendants were on notice of facts tending to show a

“manifest problem with the hooks.” Id.

       Similarly, in Rosenthal v. Ford Motor Co., the Court rejected the defendant’s argument

that “only four property damage claims had been filed with respect to the FR680 tires, and that

plaintiffs’ accident was the only one involving bodily injury, is insufficient to put them on notice

of a potential defect with the tire” and denied the defendants’ motion for summary judgment on

the plaintiffs’ punitive damages claim. Rosenthal v. Ford Motor Co., 462 F. Supp. 2d 296, 313

(D. Conn. 2006). The Court stated it “need not decide whether four incidents are sufficient to

have placed Firestone on notice or whether the continued use of the potentially dangerous rubber

compound rises to the level of willful or wanton behavior” because “it is possible to interpret it

as such when the evidence is viewed in the light most favorable to the plaintiffs.” Id.




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C.     There Is A Genuine Issue Whether Defendants Had Knowledge Of A Serious Risk.

       The Court should deny Defendants’ motion because there is a genuine issue whether

Defendants had actual or constructive knowledge of a serious risk, i.e. that their ratchet-and-pawl

design jack stand permitted the occurrence of false engagement and that the occurrence of false

engagement in a jack stand under load posed a crush hazard.

       The evidence, summarized above, supports finding that Defendants had such knowledge.

See infra at 5–7. Indeed, Defendants admit knowledge that their ratchet-and-pawl design jack

stand was susceptible to false engagement which posed serious risk of personal injury, as well as

knowledge of feasible, cost-effective, alternative designs to mitigate known risk. (Pls’ Stmt.

¶¶ 24–29.)   In response, Defendants attempt to discredit and mischaracterizes the Bowles,

Raymond and Hadstedt claims. First, Defendants argue that the Bowles, Raymond, and Hadstedt

claims are not “substantially similar” to this case and, therefore, evidence of these claim is

inadmissible. (Defs’ Mem. at 5, 16.) As an initial matter, the issue is not whether Messrs.

Bowles, Raymond or Hadstedt were, in fact, injured in the same manner as Christian.7 The issue

is whether Defendants had actual or constructive knowledge that false engagement could occur

and cause serious injury. The Bowles, Raymond, and Hadstedt claims are admissible for the

purpose of showing that, prior to Christian’s injury, Defendants had received complaints that

their ratchet-and-pawl design jack stands experienced sudden, unexpected loss of ratchet height

resulting in serious physical injury or death.8 See Pitterman v. General Motors LLC, Dkt. No.

3:14-cv-00967, Ruling re: Defendants’ Renewed Motion for Judgment as a Matter of Law (Entry


7
  As the Third Circuit Court of Appeals recognized in Forrest v. Beloit Corp., “there is always a
first victim.” 424 F.3d 344, 357–58 (3d Cir. 2005).
8
 Further, the Jeffcoat, Guerra, Finley, Sloan, and Zinn complaints are admissible for the purpose
of showing notice of complaints regarding Defendants’ jack stands. Pitterman, slip op. at 62.


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No. 321), at 62 (D. Conn. Apr. 17, 2018) (attached as Ex. 1) (allowing evidence of unverified

reports of rollaway incidents for purpose of “deciding whether General Motors was aware at

certain times of the fact that people reported such incidents” but not to provide that the events in

the reports actually occurred). Here, the evidence supports a finding that Defendants were aware

of at least three complaints of false engagement causing personal injuries such that summary

judgment is not appropriate. C.f. Walters v. Howmedica Osteonics Corp., 676 F. Supp. 2d. 44,

56–57 (D. Conn. 2009) (granting summary judgment on punitive damages claim where no

evidence that defendant received any complaints of injury of the type alleged by plaintiff).

       Moreover, the Bowles, Raymond, and Hadstedt claims are substantially similar to

Plaintiffs’ claim and are admissible to show Defendants’ knowledge of the existence of the

design defect known as false engagement and associated risk. “Whether a prior accident occurred

under ‘substantially similar’ conditions necessarily ‘depends on the underlying theory of the

case, and is defined by the particular defect at issue.’” Lidle v. Cirrus Design Corp., 505 F.

App’x 72, 74 (2d Cir. 2012) (quoting Guild v. Gen. Motors Corp., 53 F. Supp. 2d 363, 367

(W.D.N.Y. 1999)); accord Facey v. Merkle, 146 Conn. 129, 135-36 (1959). The Bowles,

Raymond and Hadstedt claims involve the same “underlying theory” and “defect” as Plaintiffs’

claim, i.e. a sudden and unexpected collapse of Defendants’ ratchet-and-pawl jack stand,

otherwise known as false engagement. None of the cases cited by Defendants command a

different conclusion.9 (See Defs’ Mem. at 17.) The cases cited by Defendants involve different

claims of defect, whereas, Bowles, Raymond and Hadsted involve claims of the identical defect


9
   Butkowski v. General Motors Corp., involved an untimely motion seeking discovery
concerning the defendant’s recall campaign related to separation of “the idler arm . . . from the
rest of the steering assembly.” 497 F.2d 1158, 1159 (2d Cir. 1974). The court denied the motion
for additional discovery because it sought information of a different defect than that alleged by
the plaintiff (i.e. that the idler arm froze).


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alleged by Plaintiffs. For example, in Kane v. Ford Motor Co., the court excluded a service

letter concerning possible installation of defective brake supports because the plaintiff’s claim

involved an entirely different defect: improper brake hose installation. 450 F.2d 315, 316–17 (3d

Cir. 1971).   In Schaen v. Liberty Mutual Insurance, the court excluded evidence of prior

incidents of collision between motor vehicles and people in the subject parking lot because the

plaintiff failed to demonstrate the prior collisions involved the defects alleged by the plaintiff,

i.e. inadequate lighting, signage or traffic management. No. X07-CV-000078112-S, 2002 WL

31818543, at *4 (Conn. Super. Ct. Nov. 22, 2002).

       Second, Defendants argue that the Bowles claim was not a “confirmed” instance of false

engagement. (Defs’ Mem. at 11, 15–16, 19.) Defendants point to an e-mail chain between Mr.

Claypool, Mr. Chaykin and others. (See Defs.’ Mem. at 4, Ex. G.) Defendants focus on a

statement by Mr. Claypool, on January 13, 2005, that he did not “believe” the jack stand at issue

in the Bowles claim actually failed as a result of false engagement. Whether the jack stand at

issue in the Bowles incident failed as a result of false engagement has no bearing on the relevant

issue. The issue is whether Defendants had actual or constructive knowledge of the serious crush

hazard posed by false engagement. The e-mail chain, read as a whole, supports a finding that

Defendants knew that false engagement could occur and cause serious injury. For example, on

January 10, 2005, Mr. Claypool wrote to Mr. Chaykin and others that Mr. Bowles had reported

that a previously loaded ratchet bar on one of Defendants’ jack stands “suddenly dropped and

caused the load to drop onto him, pinning him until Police and Fire Dept freed him” and causing

him to endure pain and suffering and to incur medical bills and lost wages. (Pls’ Stmt. ¶ 25; Pls’

Ex. T.) Mr. Claypool stated that it was possible that the ratchet bar became “falsely loaded” and

“slip[ped] out of that false engagement.” (Pls’ Ex. T.) He also indicated that a jury could



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conclude Defendants were at fault. (Pls’ Stmt. ¶ 25; Pls’ Ex. T.) Viewing the e-mail chain in the

light most favorable to Plaintiffs, there is a genuine issue whether Defendants had knowledge

that false engagement could occur and cause serious injury. Proof of a prior “confirmed”

incident is not required. See, e.g., Rosenthal, 462 F. Supp. 2d. at 313 (denying defendants’

motion for summary judgment on punitive damages claims because a juror could interpret

evidence of prior claims as putting defendants on notice of potential danger).

       Third, Defendants—entirely ignoring the Bowles, Raymond, and Hadstedt claims—argue

that “Defendants were not aware of any prior substantially similar jack stand incidents” and “the

only known claim of false engagement is the Plaintiffs.”10 (Defs’ Mem. at 19.)        Defendants’

argument is not credible. As discussed above, the evidence supports a finding that Defendants

were on notice, and had knowledge, that their ratchet-and-pawl design jack stand permitted the

occurrence of false engagement and that the occurrence of false engagement in a jack stand
10
   Further, Defendants’ statement that it has sold more than 1 million jack stands and “the only
known claim of false engagement is the Plaintiffs” is not admissible. Evidence that other
individuals used a product without incident is admissible only if the defendant demonstrates that
the other individuals use of the product was identical to the plaintiff’s use of the product. Facey
v. Merkle, 146 Conn. 129 (1959). In Facey, the Connecticut Supreme Court concluded that the
trial court properly excluded evidence offered by defendant that thousands of individuals used
the stairway at issue without incident because the defendant failed to demonstrate that the other
individuals’ use of the stairway was identical to the plaintiff’s use of the stairway by, for
example, showing the other individuals were in the same physical condition as the plaintiff. Id.
at 135-36. Similarly, courts have excluded reverse-other-incident evidence, of the type offered
by Defendants, where the defendant fails to demonstrate that it would have known of other
similar incidents. See, e.g., Forrest, 424 F.3d at 357–58 (recognizing that prejudicial nature of
statements regarding the absence of other incidents and that it “may be difficult or impossible for
a plaintiff to obtain [specific evidence of prior occurrences] where the defendant has not kept
records concerning the safety history of its products,” that “the absence of prior accidents may
simply mean that the plaintiff was the first to be injured; there is always a first victim,” and
“testimony concerning the absence of prior accidents ‘does not tell us how many near-accidents,
nor how any fortuitous escapes from injury, may have occurred’” (quoting Jones v. Pak-Mor
Mfg. Co., 145 Ariz. 121, 128 (1985)). Here, Defendants have failed to lay the required
foundation for admission of statements regarding the absence of other accidents. Defendants
have failed to demonstrate that they would have knowledge of other “near-accidents”—the
Bowles, Raymond, and Hadstedt claims may well be the tip of the iceberg.


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under load posed a crush risk that could result in serious injury or death. See infra at 5–7.

Defendants’ cases are inapposite. In Reiske, 2012 WL 685485, at *2, K.E., 2017 WL 440242, at

*26, Walters, 676 F. Supp. 2d 44, and Johannsen v. Zimmer, Inc., No. 3:00-cv-2270, 2005 WL

756509 (D. Conn. Mar. 31, 2005), there was no evidence that the defendant was on notice, or

had knowledge of, the defect alleged by the plaintiff or the associated risk.

D.     There Is A Genuine Issue Whether Defendants Consciously Ignored The Crush
       Hazard Posed By False Engagement.

       Defendants’ motion also fails because there is a genuine issue whether Defendants

consciously ignored the serious risk of personal injuries posed by false engagement.

       The evidence summarized above supports finding that Defendants made a conscious

decision to ignore the serious risk of hazard by the vehicle underbody that could result in serious

injury or death. Defendants were aware that their ratchet-and-pawl design jack stand permitted

the occurrence of false engagement and that the occurrence of false engagement in a jack stand

under load posed a crush hazard. (Pls’ Stmt. ¶¶ 24–29.) Defendants admit that Mr. Claypool, in

the course of his employment, developed a proposal for implementing a secondary locking

mechanism as a means to mitigate the potential for crush injuries posed by false engagement.

(Id. ¶ 28; see also Defs’ Mem. at 15.) Defendants did not act on Mr. Claypool’s proposal. (Pls’

Stmt. ¶ 28.) Nor did Defendants act to mitigate risk of false engagement in the wake of the

Bowles, Raymond and Hadstedt claims, which alleged sudden and unexpected loss of ratchet

height resulting in serious physical injury and the death of Mr. Raymond. (Id.) Defendants

admit the feasibility of incorporating secondary locking mechanisms on ratchet-and-pawl jack

stand models and that the cost of implementing this additional safety feature was insignificant.

(Id.) Defendants also admit that as of March 11, 2011, at least three of their competitors—

Allied, Strongway and Torin—had brought to market ratchet-and-pawl jack stands that


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incorporated secondary locking mechanisms. (Id. ¶ 29.) Further emphasizing the feasibility of

incorporating this additional safety feature, Defendants currently sell comparable jack stand

products with secondary locking mechanisms. (Id.) The jury is entitled to consider these, and

other facts, to determine whether Defendants’ conduct constitutes recklessness.

       In response, Defendants argue that Mr. Claypool did not build a prototype along with his

alternative design proposal.   (Defs’ Mem. at 15.)      This is an obvious attempt to excuse

Defendants’ own failure to act. After Defendants were aware of the risks of false engagement,

Mr. Claypool submitted an alternative design proposal. Defendants did nothing. (Pls’ Stmt.

¶ 28.) Defendants cannot excuse the fact that they ignored known risks, and Mr. Claypool’s

design proposal, by claiming that Mr. Claypool should have built a prototype for a design that

Defendants stated they were “not interested” in pursuing.

       Defendants also argue that the Court should conclude, as a matter of law, that Plaintiffs

are not entitled to punitive damages because the alternative secondary locking mechanism design

was not “universally accepted” at the time of the accident. (Defs’ Mem. at 20–21.) Defendants

have not cited any authority requiring universal acceptance of an alternative design or warning as

a precondition for an award of punitive damages. The two cases relied on by Defendants, Ames

v. Sears, Roebuck & Co., 8 Conn. App. 642 (1986) and Wagner v. Clark Equipment Co., 243

Conn. 168 (1997), are distinguishable because in both cases there was no evidence that the

defendants were aware of prior incidents that put them on notice of the risk of substantial injury

and no evidence to support a finding that defendants made a conscious choice in the face of

actual or constructive knowledge of a serious risk.. See Ames, 8 Conn. App. at 654 (at time of

accident, defendant was generally aware of existence of alternative design); Wagner, 243 Conn.




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at 201 (at time of accident, defendant was “aware of the general dangers” posed by forklifts to

pedestrians).

        In contrast, here there is evidence that Defendants knew, by way of prior complaints, that

their ratchet-and-pawl jack stand design permitted the occurrence of false engagement and that

the occurrence of false engagement in a jack stand under load posed a crush hazard that could

result in serious injury or death. Moreover, one of Defendants’ employees, Mr. Claypool,

presented plans for an alternative design which incorporated redundant safety features, and

Defendants failed to act.      There is also evidence that Defendants’ competitors developed

warnings for comparable ratchet-and-pawl jack stands that specifically addressed the crush

hazard posted by false engagement.         (Pls’ Stmt. ¶¶ 24–29.)      For example, Sealey Quality

Machinery instructs users of its 3-ton ratchet-and-pawl jack stand to: “Ensure the centre column

is locked with the locking lever down and pawl engaged with a ratchet tooth;” “Ensure toothed

side of column will engage with locking lever mechanism;” “WARNING: ENSURE PAWL IS

FULLY ENGAGED WITH TEETH;” “Failure to heed these warnings may cause damage,

injury or loss of life.” (Id. ¶¶ 30–32.)

        The jury is entitled to weigh the evidence and determine whether Defendants’ conduct

amounts to reckless disregard of a substantial risk to human safety. Beecher v. Derby Bridge &

Ferry Co., 24 Conn. 491, 498 (1856) (explaining whether evidence supports a finding of willful

and wanton neglect of duty sufficient to justify an award of punitive damages, previously

referred to as “vindictive damages,” is a question for the trier of fact).




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E.     Defendants’ Remaining Arguments Are Unavailing.

       Defendants’ remaining arguments regarding industry standards and professional

publications are unavailing and do not warrant summary judgment.

       1.      Defendants’ Industry Guidelines Argument Is Not Dispositive.

       Defendants claim that their jack stands complied with “all applicable regulations.”

(Defs.’ Mem. at 8.)     As an initial matter, the ASME-PALD publications that Defendants

reference are neither controlling nor are they regulations.     The ASME-PALD publications

provide certain minimum safety standards as industry guidance. Compliance is completely

voluntary. (Pls’ Response to Defs’ Stmt. ¶ 12.) Defendants’ purported testing in connection

with such publications does not address, or eliminate, the occurrence of false engagement in the

subject ratchet-andpawl design.

       The issue is whether Defendants made a conscious choice in the face of knowledge that

their ratchet-and-pawl jack stand design permitted the occurrence of false engagement and that

the occurrence of false engagement in a jack stand under load posed a crush risk that could result

in serious injury or death.    Whether Defendants complied with certain publications is not

dispositive. Compare Memorandum in Support of Defendants’ Motion for Summary Judgment

at 8, Lutes v. Kawasaki, No. 3:10-cv-01549 (D. Conn. June 23, 2015), ECF No. 222 (arguing

defendants were entitled to summary judgment on punitive damages claim because they

complied with industry standards) with Lutes, 2015 WL 9239736, at *5 (denying motion for

summary judgment and failing to adopt defendants’ argument that compliance with industry

standards precluded punitive damages).




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       2.      Defendants’ Professional Publications Argument Is Not Dispositive.

       Defendants argue that it “impossible to show that the Defendants recklessly ignored a

known danger” because Plaintiffs have not identified professional publications regarding false

engagement. (Defs’ Mem. at 16.) Defendants have not cited any authority conditioning the

availability of punitive damages on “universal acceptance” of an alternative design or warning,

or identification of professional publications. Under Defendants’ theory, if a product is defective

due to its design and failure to warn, the first person to be seriously injured and file a lawsuit

would be precluded from seeking punitive damages. Surely, that is not the law in Connecticut.

The inquiry whether punitive damages are appropriate is an issue for the jury, not the Court.

                                     IV.    CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motion for summary

judgment on Plaintiffs’ punitive damages claim in its entirety.




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                                       CERTIFICATION

        I HEREBY CERTIFY that on this date a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                      /s/ Bryan J. Orticelli
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